Case 4:16-cv-00592-TCK-FH|\/| Document 1 Filed in USDC ND/OK on 09/14/16 Page 1 012

JS44 {Rcv` 11/15)

CIVIL COVER SHEET

The JS 44 civil cover Sheet and the information contained herein neither repiace nor supplement the filing and sewice of pleadings or other papers as required by EaW, except as
provided by local rules of cou:t. This form, approved by the ludicial Conference of the United States iri Septeinber 1974, is required for the use of the Clel'k ofCourt Fol' the
purpose cfinitiafitlg tile CiVil dUCl(et Slii:et` (SEE INST`RUCT!ONS ONNE)(T PAGE OF THIS FOR.M.)

 

I. (a) PLAINTIFFS

State Farm i\/|utua| Automobi|e lnsurance Cornpany

(b) County ofResidenee of First Listecl Plaintiff

NicLean County, iL

(EYCEPTIN U.S, PLAHVTIFF CASES)

(C) Attorncys (Fr'."i'n Naine, Adn'i'ess, and Tei'eplzone Niimber)

Jason E. |`viai'sha||

Cathcart & Doo|ey~280? N. C|assen B|vci., Ok|ahoma City, OK 73106
F’: 405-524-1110 F: 405-524-4143

DEFENDANTS

N(JTE:

Attorneys UfKiiown)

 

United Stetes of Americe, and
Federa| Bureau of investigation

Count'y of Residence of First Listed Defendant

(IN US, PLAINTIFF CASES ONLY}

IN LAND CUNDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

The United States Attorney's Office- Nor‘thern District of Ok|ahorna
110 W. 7th Street, Suite 300, TLi|Sa, OK 74119

 

II. BASIS OF JURISDICTION (PIace mi "X" iir()ne chOiify}

 

(Foi' Divei‘si'fy Cr.'ses Oiin)

III. CITIZENSHIP OF PRINCIPAL PARTIES (Piam an ","Y in Orre B<).rfoi- Piai»iii)_'f

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VI. CAUSE OF ACTION

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B| Agent caused a motor vehicle accident invoiving P|aintitfs insuredl P|aintifi is Seeking to subrogate.

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VII. REQUESTED IN EI cHECK iF THiS is A CLASS ACTION DEMAND $ CHECK YES duly if demanded id Cdmpldirdr
COMPLAINT: UNDER RULE 23, F.R.CV.P. 2,814.04 JURY DEMAND: iII Yes §§ No
VIII. RELATED CASE(S) 7 _
IF ANY (See iiisfi'.'icfions): ]_UDG]_ n h DOCKET ER wm n-
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Case 4:16-cv-00592-TCK-FH|\/| Document 1 Filed in USDC ND/OK on 09/14/16 Page 2 012

JS 44 Revcrsc (Rcv. 11/15)

INSTRUCTIONS FOR ATTORNEYS COMPLETI_NG CIVII.. COVER SHEE'I` FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use ofthe Clerk of Court for the purpose ol"initiating the civil docket sheet Consequently, a civil cover sheet is submitted to the Cicrk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.{a} Plaintiffs-Defendants. Enter names {last, first, middle initial) of plaintiff and defendant lf the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. lf the piaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing 1n U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county ofresidence ofthe "defendant" is the location of the tract of land invoived.)

(c) Attorneys. Entcr the firm name, address, telephone nnmber, and attorney of record lf there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

II. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadingsl Place an "X"
in one of the boxes. lf there is more than one basis ofjurisdiction, precedence is given in the order shown beiow.
United Statcs plaintiff (l) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers ofthe United Statcs arc included here.
United Statcs defendantl (2) When the plaintiff is siting the United States, its officers or agencies, place an "X" in this box.
Federa§ question (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the Unitcd States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. in cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked
Diversity ofcitizenship. (4) 'i`his refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked (See Section 111 below; N()TE: federal question actions take precedence over diversity
cases.)

III. Residence (citizenship) of Principai Partics. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. lvfarlr this
section for each principal pariy.

IV. Natlu'e of Suit. Place an "X" in the appropriate box. 11" the nature of suit cannot be determined, be sure the cause of action, in Section Vl belowj is
sufficient to citable the deputy clerk or the statistical clerk(s) in thc Administrative Office to determine the nature of suit lf the cause fits more than
one nature of suit, select the most definitive

V. Origin. Plaec an "X” in one ofthe six boxes.
Original Proceedings. (l) Cascs which originate in the United Statcs district courts.
Reinoved from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section l404(a). Do not use this for within district transfers or
multidistrict litigation transfers
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
When this box is checked, do not check (5) above.

VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do riot cite jurisdictional
statutes unless diversity. Exarnple: U.S. Civil Statute: 47 USC 553 Briechscription: Unauthorized reception of cable service

VII. Requestcd in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.CV.P.
Deinand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunctionl

Iury Demand. Check the appropriate box to indicate whether or not a jury is being demanded

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the con'espcnding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet

 

 

